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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )
                                                 )                  8:06CR248
       vs.                                       )
                                                 )                    ORDER
GUSTAVO LARA,                                    )
                                                 )
                      Defendant.                 )


       This matter is before the court on defendant's unopposed motion to extend the
deadline for filing pretrial motions [32]. The defendants has not filed a waiver of speedy trial
as required by NECivR 12.1. For cause shown,

       IT IS ORDERED:

       1. Defendant's motion for extension of time [32] is granted, and defendant is
given until and including September 7, 2006 to file pretrial motions.

       2. The ends of justice will be been served by granting defendant's motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional time
arising as a result of the granting of the motion, i.e., the time between August 23, 2006
and September 7, 2006, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason defense counsel requires
additional time to adequately prepare the case, taking into consideration the diligence of
counsel. The failure to grant additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(8)(A) & (B).

       3.    Defendant shall file a waiver of speedy trial as soon as is practicable.

       DATED August 22, 2006.

                                              BY THE COURT:

                                              s/ F.A. Gossett
                                              United States Magistrate Judge
